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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH


 UNITED STATES OF AMERICA,                        MEMORANDUM DECISION AND
                                                  ORDER CONTINUING TRIAL
                       Plaintiff,                 AND EXCLUDING TIME
                                                  UNDER THE SPEEDY TRIAL ACT
 v.
                                                  Case No. 2:21-CR-129 TS
 DAVID POPLIN GREENWOOD,
                                                  District Judge Ted Stewart
                       Defendant.


        This Order Continuing Trial and Excluding Time Under the Speedy Trial Act is entered

in response to the outbreak of the Coronavirus Disease (“COVID-19”) in the District of Utah.

        On March 13, 2020, a National Emergency was declared in response to the nationwide

outbreak, which the World Health Organization has declared a global pandemic. The numbers of

confirmed COVID-19 cases and deaths within the United States continue to increase daily. The

United States has more COVID-19 cases as any other country.

        The Centers for Disease Control and Prevention (“CDC”) has issued guidance to combat

the spread of COVID-19, and to promote the health and well-being of the nation. This guidance

includes recommendations that all Americans avoid close contact with others (i.e., being within

six feet) and wear cloth face coverings in public or when around others. Despite this guidance,

the CDC continues to report thousands of new COVID-19 cases in the United States each day.

And available evidence suggests there is difficulty in accurately tracking the spread of COVID-

19 because many cases go undetected due to varying degrees of symptoms and a lack of

available testing.
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              In Utah, Governor Gary Herbert declared a state of emergency and issued a “Stay Safe,

Stay Home” directive to all Utahns. The directive was initially set to expire on April 13, 2020,

but was extended through May 1, 2020. Governor Herbert also extended the “soft closure” of all

public schools for the remainder of the school year (i.e., May 13, 2020, to June 5, 2020,

depending on the school). Recently, the State moved to “low risk” as case counts appeared to

have leveled off. But since then, there has been a statewide spike in case counts. The “low risk”

stage still imposes strong restrictions on the general public, particularly in group activities in

small spaces. Persons who are older, immunocompromised or considered at high risk of

contracting the virus must still take strict precautions.

              Additionally, Chief Judge Robert J. Shelby has issued several General Court Orders in

response to the outbreak of COVID-19 in the District of Utah.

          •   General Order 20-008 placed restrictions on visitors to the District’s courthouse effective
              March 12, 2020, until further order.

          •   General Order 20-009 postponed most civil and criminal proceedings, and included
              findings and conclusions for an “ends of justice” exclusion of time under the Speedy
              Trial Act 1 for all criminal cases in the District from March 16, 2020, through May 1,
              2020.

          •   General Order 20-010 modified court operations for some criminal proceedings and
              offender supervision effective March 23, 2020, until further order.

          •   General Order 20-011 expanded video and teleconferencing capabilities for many
              criminal proceedings under the Coronavirus Aid, Relief, and Economic Security Act
              effective March 31, 2020, and continuing for 90 days.

          •   General Order 20-012 extended the postponement of most civil and criminal proceedings
              to June 15, 2020, and included findings and conclusions for an “ends of justice”
              exclusion of time under the Speedy Trial Act 2 for all criminal cases through June 15,
              2020.



1
    18 U.S.C. § 3161(h)(7)(A).
2
    Id.



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          •   General Order 20-017 extended the postponement of most civil and criminal proceedings
              to August 1, 2020, and included findings and conclusions for an “ends of justice”
              exclusion of time under the Speedy Trial Act 3 for all criminal cases through August 1,
              2020.

          •   General Order 20-021 extended the postponement of most civil and criminal proceedings
              to September 1, 2020, and included findings and conclusions for an “ends of justice”
              exclusion of time under the Speedy Trial Act 4 for all criminal cases through September 1,
              2020.

          •   General Order 20-026 extended the postponement of civil and criminal trials to October
              1, 2020, and included findings and conclusions for an “ends of justice” exclusion of time
              under the Speedy Trial Act 5 for all criminal cases through October 1, 2020.

          •   General Order 20-029 extended the postponement of civil and criminal trials to
              November 2, 2020, and included findings and conclusions for an “ends of justice”
              exclusion of time under the Speedy Trial Act 6 for all criminal cases through November 2,
              2020.

          •   General Order 20-030 extended the postponement of civil and criminal trials to February
              1, 2021, and included findings and conclusions for an “ends of justice” exclusion of time
              under the Speedy Trial Act 7 for all criminal cases through February 1, 2021.

          •   General Order 21-001 extended the postponement of civil and criminal trials to April 1,
              2021, and included findings and conclusions for an “ends of justice” exclusion of time
              under the Speedy Trial Act 8 for all criminal cases through April 1, 2021.

          •   General Order 21-003 extended the postponement of civil and criminal trials to June 30,
              2021, and included findings and conclusions for an “ends of justice” exclusion of time
              under the Speedy Trial Act for all criminal cases through June 30, 2021.

              An “ends of justice” exclusion of time under the Speedy Trial Act is disfavored and “was

meant to be a rarely used tool for those cases demanding more flexible treatment.” 9 However,

based on the ongoing nature of the COVID-19 outbreak in the District, the effect of national and


3
    Id.
4
    Id.
5
    Id.
6
    Id.
7
    Id.
8
    Id.
9
    United States v. Toombs, 574 F.3d 1262, 1269 (10th Cir. 2009).



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local public health recommendations and directives (including restrictions on travel and the

availability of hotel accommodations), and the findings and conclusions in Chief Judge Shelby’s

General Orders 20-009 through 20-012, 20-017, 20-021, 20-026, 20-029, 20-030, and 21-001,

and 21-003 it is necessary and appropriate to continue trial in this case and exclude time under

the Speedy Trial Act. The expanding number of COVID-19 cases and deaths nationally, and in

Utah, and Governor Herbert’s extension of the “Stay Safe, Stay Home” directive and “soft

closure” of public schools demand modifications in court practices to protect the public health.

Courts and court operations are necessarily social operations, involving many people.

           The need to protect the health of the public in the midst of a deadly pandemic outweighs

the rights of Defendant and the public to a speedy trial. Moreover, there is a significantly reduced

ability to obtain an adequate spectrum of jurors and available counsel, witnesses, and court

personnel to be present in the courtroom for trial. Empaneling a jury, conducting a trial, and

arranging jury deliberations, with due regard for health and safety, considering the broad

spectrum of participants and their contacts outside the court, is not currently possible in the

physical facilities available to the court. Long exposure in confined spaces, which is inherent in

trial, increases risk of infection. Video and audio conferencing, used for hearings, are not

available for trials. Counsel’s ability to adequately prepare for trial, including locating and

consulting with witnesses, and defense counsel’s ability to confer with Defendant, under these

circumstances is also greatly reduced.

           A failure to continue trial under these circumstances would result in a miscarriage of

justice 10 and would deny counsel for the government and Defendant the reasonable time




10
     18 U.S.C. § 3161(h)(7)(B)(i).



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necessary for effective preparation, taking into account the exercise of due diligence. 11

Therefore, the ends of justice served by such a continuance outweigh the best interests of the

public and Defendant in a speedy trial. 12 This continuance is not predicated on general

congestion of the court’s calendar or lack of diligent preparation by counsel. 13

                                             ORDER

           IT IS HEREBY ORDERED the 3-day jury trial previously scheduled to begin on June 7,

2021, is continued to the 28th day of June, 2021, at 8:30 a.m. Accordingly, the time from the

entry of General Order 20-009, March 16, 2020, and the new trial date is excluded from

Defendant’s speedy trial computation for good cause.

           Signed June 1, 2021.

                                              BY THE COURT


                                              ______________________________
                                              Ted Stewart
                                              United States District Judge




11
     Id. § 3161(h)(7)(B)(iv).
12
     Id. § 3161(h)(7)(A).
13
     Id. § 3161(h)(7)(C).



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